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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  ARBUTUS BIOPHARMA CORPORATION            )
  and GENEVANT SCIENCES GmbH,              )
                                           )
                        Plaintiffs,        )
                                           )
                 v.                        ) C.A. No. 22-252 (MSG)
                                           )
  MODERNA, INC. and MODERNATX, INC.        ) REDACTED - PUBLIC VERSION
                                           )
                        Defendants.        )

           DEFENDANTS BRIEF IN SUPPORT OF THEIR MOTION TO SEAL
             PORTIONS OF PLAINTIFFS MOTION TO COMPEL (D.I. 184)

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  I.     INTRODUCTION

         Pursuant to the Protective Order (D.I. 91) as modified by the Courts November 14, 2023

  Order (D.I. 155), Defendants Moderna, Inc. and ModernaTX, Inc. (Moderna) respectfully

  move this Court to seal Modernas sensitive and confidential information and to grant leave to

  file partially redacted versions of Plaintiffs Motion to Compel (D.I. 184) and Exhibits 1, 7, and

  10-11 thereto. As explained in more detail below, the portions marked for redaction contain

  Modernas sensitive and confidential technical information, including confidential regulatory

  submissions and trade secrets.

        In support of this motion, Moderna attaches as Exhibit A the Declaration of Peter

  Wojciechowski, CMC Knowledge Management Lead at ModernaTX, Inc., who is

  knowledgeable about Modernas confidential information that Moderna seeks to seal and is

  familiar with its sensitivity. Moderna seeks to redact portions of Plaintiffs Motion and Exhibits 1,

  7, and 10-11 thereto (collectively, the Confidential Materials).

         The Confidential Materials contain Modernas highly confidential information, and the

  Court should maintain that material under seal to prevent serious and real harm to Moderna.

  Release of Modernas highly confidential information to the public and Modernas competitors

  would create a clearly defined and serious injury to Moderna, as discussed in detail below.

  II.    LEGAL STANDARD

         Third Circuit common law presumes a public right of access to judicial records, however

  it also protects business and financial information when access would cause economic harm,

  including competitive harm. In re Avandia Mktg., Sales Pracs. & Prod. Liab. Litig., 924 F.3d

  662, 672 (3d Cir. 2019). Although the common law right to public access is a recognized and

  venerated principle, courts have also recognized the accompanying principle that the right is not




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  absolute. In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001) (citations and quotations

  omitted); see also Littlejohn v. Bic Corp., 851 F.2d 673, 678 (3d Cir. 1988) (Despite the

  presumption, courts may deny access to judicial records, for example, where they are sources of

  business information that might harm a litigants competitive standing.).

            This presumption is overcome where a movant shows that the interest in secrecy

  outweighs the presumption. In re Avandia Mktg., 924 F.3d at 672 (quoting Bank of Am. Natl

  Tr. & Sav. Assn v. Hotel Rittenhouse Assocs., 800 F.2d 339, 344 (3d Cir. 1986)). This showing

  may be made by demonstrating that disclosure will work a clearly defined and serious injury to

  the movant and that the material is the kind of information that courts will protect. See In re

  Avandia Mktg., 924 F.3d at 672 (citing Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d Cir. 1994)).

  The Court will apply a good cause standard justifying sealing or redacting judicial records,

  requiring a balancing process, in which courts weigh the harm of disclosing information against

  the importance of disclosure to the public. Mosaid Techs. Inc. v. LSI Corp., 878 F. Supp. 2d

  503, 507-08 (D. Del. 2012) (citing Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d Cir.

  1994)).

  III.      ARGUMENT

            Good cause exists here to seal the Confidential Materials because the Confidential

  Materials contain Modernas highly confidential technical and business information. Disclosure

  of such information would cause real and serious competitive harm to Moderna and the

  information does not need to be disclosed to the public to understand the filings at issue.

            Although the publics presumptive common law right of access to judicial records

  attaches to materials filed in connection with a pretrial motion of a non-discovery nature, this

  right is not absolute and may be overcome by a showing that the material sought to be sealed




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  is the kind of information that courts will protect and   will work a clearly defined and serious

  injury to the party seeking closure. In re Avandia Mktg., 924 at 672 (citation omitted). Here,

  the Confidential Materials are all the types of limited information of the kind that courts in the

  Third Circuit have recognized as protectable, namely highly sensitive and confidential technical

  information regarding Modernas proprietary and trade secret manufacturing methods for its

  COVID-19 Vaccine, including steps in the manufacturing process and parameters for those

  steps.

           The harms caused by revealing Modernas confidential information are discussed below,

  and further in the attached declaration of Peter Wojciechowski (Exhibit A), a CMC Knowledge

  Management Lead at ModernaTX, Inc., who is familiar with this information and its sensitivity.

  As Mr. Wojciechowski explains, there is significant competition between established vaccine

  suppliers, including suppliers with mRNA-based vaccines, like Moderna, and any information

  about one of these competitors, even seemingly minor information, may prove competitively

  advantageous. Ex. A, ¶ 7.

           Moderna seeks only to partially seal the Confidential Materials at issue in this motion.

  As described briefly below, and further explained in the Declaration of Peter Wojciechowski,

  attached hereto as Exhibit A, the Confidential Materials contain Modernas confidential

  information. The Confidential Materials contain highly confidential and sensitive information

  regarding Modernas proprietary technology relating to its manufacturing methods for its

  COVID-19 Vaccine, known as mRNA-1273 or SpikeVax. Ex. A, ¶ 6. SpikeVax is comprised

  of messenger RNA (mRNA) which is delivered using lipid nanoparticles (LNPs). Ex. A, ¶ 3.

  Modernas proprietary LNP is comprised of four lipid components including SM-102,

  cholesterol, phospholipid, and PEGDMG-2000. Ex. A, ¶ 3. With respect to Modernas




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  formulation, Moderna considers its precise formulation, including the specific quantities of

  ingredients, a trade secret, which is not public knowledge. Ex. A, ¶ 8. With respect to Modernas

  manufacturing process for SpikeVax, Moderna considers its process-as-a-whole a trade secret,

  including the steps in the process, the records of each step, the parameters or specification for

  each step (such as timing, sequence, amount and kind of raw materials, temperatures,

  measurements, equipment used etc.). Ex. A, ¶ 9. Moderna has not publicly disclosed its

  proprietary manufacturing process. Ex. A, ¶ 9.

         Moderna has not publicly disclosed information within Plaintiffs Motion and Exhibits

  1, 7, and 10-11 which refer to, quote, summarize, or otherwise disclose Modernas sensitive and

  confidential technical information. Specifically, the information on the following pages of

  Modernas Opposition and Exhibits disclose specific information concerning the composition

  of Modernas COVID-19 Vaccine (and other pipeline products) and Modernas proprietary and

  trade secret manufacturing methods for its COVID-19 Vaccine (and other pipeline products)

  including steps in the manufacturing process and parameters for those steps:

            Plaintiffs Motion at page 1, lines 30-35; page 2, line 19;

            Exhibit 1 at page 9, lines 12-15;

            Exhibit 7 (confidential regulatory filing);

            Exhibit 10 at page 2, lines 6, 13-14; and

            Exhibit 11, page 4, line 11; page 8, lines 4-13; page 11, line 26; page 13, lines 1-4, 12-
            13.

        Because of the highly competitive nature of the vaccine supplier market, Moderna has

  spent significant effort and resources to develop these manufacturing methods and formulations

  and the release of such information to the public, including Modernas competitors, would harm

  Moderna. Ex. A, ¶ 7. Because there are so few competitors in the vaccine supplier market, the



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  market is highly competitive, and any information about one of the competitors, even seemingly

  minor information, may prove competitively advantageous. Ex. A, ¶ 7. Additionally, there are

  companies considering entering the vaccine market and companies developing mRNA-based

  vaccines and therapeutics for other diseases or developing lipid nanoparticles for mRNA-based

  products. Ex. A, ¶ 7.

        The Confidential Materials also include highly confidential business information

  regarding Modernas COVID-19 Vaccine. Ex. A, ¶ 6. If the confidential information were made

  public, Modernas competitors would be able to potentially replicate Modernas products,

  features within Modernas products, and methods of making mRNA-LNP products, or make

  decisions about where, when, and how to offer directly competitive goods with full knowledge

  of Modernas technology. Ex. A, ¶ 10. Modernas competitors would gain a significant

  advantage in creating their own business strategies, which would put Moderna at a significant

  competitive disadvantage, causing it real and serious harm. Ex. A, ¶ 10. Modernas competitors

  may also seek patent claims to cover Modernas technology. Ex. A, ¶ 10.

        Moderna has always taken extensive measures to maintain the confidentiality of its

  technical information. Ex. A, ¶ 5. Moderna has been extremely concerned about the protection

  of its confidential information during this litigation and has been very careful to always protect

  this information. Ex. A, ¶5. Moderna has invested significant resources to develop this

  information as well, Ex. A, ¶ 7, and this information is of the type that courts have recognized

  as protectable. See, e.g., Nitto Denko Corp. v. Hutchinson Tech. Inc., C.A. No. 16-3595

  (CCC/MF), 2017 WL 2782639, at *2 (D.N.J. Mar. 3, 2017) (granting motion to seal

  confidential technical information where such information was not intended to be seen by

  competitors . . . for review and potential use against the parties and parties were in a highly




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  competitive [] industry); Guardant Health, Inc. v. Foundation Med., Inc., C.A. No. 17-1616-

  LPS-CJB, D.I. 447 (D. Del. Jun. 16, 2020) (granting motion to redact confidential information

  concerning defendants confidential technical information).

         Disclosure of Modernas confidential information regarding either the technical details

  of Modernas precise formulation and the proprietary manufacturing process for SpikeVax

  would work a clearly defined and serious injury to Moderna, as such disclosure would provide

  Modernas competitors, customers, and potential licensors or licensees with otherwise

  confidential information regarding Modernas products and strategies, as well as a competitive

  advantage in both the vaccine supplier market and in negotiations with Moderna. See Pansy, 23

  F.3d at 786. Moreover, because this case involves private litigants and their confidential

  information, there is little legitimate public interest in the proposed redactions. Id. at 788.

  Under such circumstances, Modernas interest in maintaining the confidentiality of the proposed

  redacted information outweighs any countervailing public interest. See id. ([I]f a case involves

  private litigants, and concerns matters of little legitimate public interest, that should be a factor

  weighing in favor of granting or maintaining an order of confidentiality.); Leucadia, Inc. v.

  Applied Extrusion Techs., Inc., 998 F.2d 157, 166 (3d Cir. 1993) (Documents containing trade

  secrets or other confidential business information may be protected from disclosure and

  explaining that the court has framed the inquiry as whether the need for secrecy outweighs the

  presumption of access that normally attaches to such documents); Nixon v. Warner Commcns,

  Inc., 435 U.S. 589, 598 (1978) ([C]ourts have refused to permit their files to serve as     sources

  of business information that might harm a litigants competitive standing).

         As explained above, the Confidential Materials identified contain technical details

  regarding Modernas proprietary LNP formulation in SpikeVax and the related proprietary




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  manufacturing process. Modernas proposed redactions redact the specific confidential material

  at issue, leaving the remainder of Plaintiffs Motion unredacted. These proposed redactions are

  narrow such that the publics ability to understand the claim construction arguments is not

  impaired any less than necessary to prevent the release of Modernas most sensitive technical

  information to its competitors, preventing clear competitive harm. Modernas proposed

  redactions are narrow in scope and refer only to Modernas confidential, sensitive technical or

  business information to prevent the serious harm to Moderna which would be caused by its

  public release as outlined in Mr. Wojciechowskis Declaration. Exhibits 7 to Plaintiffs Motion

  is a confidential regulatory submission to the FDA and discloses specific information

  concerning Modernas proprietary and trade secret manufacturing methods for its COVID-19

  Vaccine including steps in the manufacturing process and parameters for those steps. Likewise,

  sealing Exhibit 7 does not impair the publics ability to understand the arguments any more than

  necessary to prevent the release of Modernas most sensitive technical information to its

  competitors, preventing clear competitive harm.

  IV.    CONCLUSION

         For the foregoing reasons, Moderna respectfully requests the Court grant Modernas

  Motion to Seal with respect to Modernas highly confidential information.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 12, 2024, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

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